                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN


EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,

                      Plaintiff,
                                                                  Case No. 17CV00070
v.

WAL-MART STORES EAST, LP,

                      Defendant.


                       DECLARATION OF KARMEN R. BUSHMAN


     I, Karmen R. Bushman, declare as follows:

        1.     I am a paralegal with the Law Firm of Conway, Olejniczak & Jerry, S.C., counsel

for Defendant Wal-Mart Stores East, LP (“Wal-Mart”). I submit this declaration in support of

Defendant’s Response to Plaintiff’s Motions in Limine.

        2.     Attached hereto and marked as “Exhibit A” is a true and correct copy of excerpts

from the deposition of Amy Jo Stevenson taken on September 21, 2018.

        3.     Attached hereto and marked as “Exhibit B” is a certified copy of the Criminal

Complaint and Judgment of Conviction and Sentence to the County Jail/Fine/Forfeiture for

Brown County Case Number 02-CM-1799.

        4.     Attached hereto and marked as “Exhibit C” is a certified copy of the Criminal

Complaint and Judgment of Conviction and Sentence to the County Jail/Fine/Forfeiture for

Calumet County Case Number 05-CM-38.

        5.     Attached hereto and marked as “Exhibit D” is a Wisconsin Consolidated Court

Automation Programs (CCAP) printout for Calumet County Case Number 03-FA-170.




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       6.     Attached hereto and marked as “Exhibit E” is a Wisconsin Consolidated Court

Automation Programs (CCAP) printout for Brown County Case Number 02-CM-1799 and

Calumet County Case Number 05-CM-38 which was marked in the deposition of Amy Jo

Stevenson as Exhibits 35 and 36 taken on September 21, 2018.

       I declare under penalty of perjury that the foregoing is true and correct.

              Executed this 15th day of June, 2021 at Green Bay, Wisconsin.


                                    Electronically signed by Karmen R. Bushman
                                      Karmen R. Bushman




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